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                                                           Individual Estate Property Record and Report
                                                                            Asset Cases
Case Number:         16-51816 AMK                                                           Trustee: (520210)           KATHRYN A. BELFANCE, TRUSTEE
Case Name:           ROBERTS, JAMES F.                                                      Filed (f) or Converted (c): 07/28/16 (f)
                     ROBERTS, ETHEL M.                                                      §341(a) Meeting Date:       09/13/16
Period Ending:       12/31/16                                                               Claims Bar Date:            05/05/17

                                1                                        2                         3                          4                    5                   6

                       Asset Description                              Petition/            Estimated Net Value             Property          Sale/Funds           Asset Fully
            (Scheduled And Unscheduled (u) Property)                Unscheduled       (Value Determined By Trustee,       Abandoned          Received by       Administered (FA)/
                                                                       Values            Less Liens, Exemptions,      OA=§554(a) abandon.     the Estate        Gross Value of
Ref. #                                                                                       and Other Costs)                                                  Remaining Assets

 1       526 Harris Street, Kent, OH 44240-0000, Portage                51,800.00                          0.00                                         0.00                  FA

 2       Harris, Kent, OH 44240-0000, Portage County                     7,100.00                          0.00                                         0.00                  FA
         Land

 3       8505 Euga Road, Newcomerstown, OH 43832-0000, Gu               14,715.00                          0.00                                         0.00                1.00

 4       Checking: Key Bank                                                  860.98                        0.00                                         0.00                  FA

 5       Household goods                                                 1,200.00                          0.00                                         0.00                  FA

 6       Wearing Aparrel                                                     850.00                        0.00                                         0.00                  FA

 7       2009 Ford Escape 4x2, 90,365 miles. Entire prope                7,830.00                          0.00                                         0.00                  FA

 8       2010 PSD USA 300UT, All purpose vehicle - Off Ro                1,500.00                          1.00                                         0.00                1.00

 9       2006 Chevrolet Silverado, 313,292 miles. Entire                 5,218.00                          0.00                                         0.00                  FA

 9       Assets            Totals (Excluding unknown values)           $91,073.98                         $1.00                                        $0.00               $2.00


     Major Activities Affecting Case Closing:
              1/16/17-
              TRUSTEE TO REVIEW DEBTORS ATV FOR NON-EXEMPT EQUITY.
              TRUSTEE TO REVIEW REAL ESTATE LOCATED AT 8505 EUGA ROAD.




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                              1                                        2                       3                          4                    5                  6

                     Asset Description                              Petition/          Estimated Net Value             Property          Sale/Funds          Asset Fully
          (Scheduled And Unscheduled (u) Property)                Unscheduled     (Value Determined By Trustee,       Abandoned          Received by      Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.     the Estate       Gross Value of
Ref. #                                                                                   and Other Costs)                                                 Remaining Assets

    Initial Projected Date Of Final Report (TFR): December 31, 2017                 Current Projected Date Of Final Report (TFR): December 31, 2017




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